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ATTORNEYS FOR DEBTORS
AND DEBTORS IN POSSESSION


                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
_____________________________________
In re:                                 §      Chapter 11
                                       §
NGV GLOBAL GROUP, INC.,                §      Case No. 22-42780-MXM-11
                                       §
            Debtor.                    §
____________________________________ §


                   GLOBAL NOTES REGARDING DEBTOR’S SCHEDULES




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These Global Notes (the “Global Notes”) regarding the Schedules of NGV Global Group,
Inc. (the "Debtor") comprise an integral part of the Schedules of Assets and Liabilities and
should be referred to and considered in connection with any review of them.

The Debtor's Schedules of assets, liabilities, executory contracts and unexpired leases, and co-
debtors (collectively, the “Schedules”) have been prepared pursuant to section 521 of title 11 of
the United States Code, U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), and Rule 1007 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by personnel of the Debtor with
the assistance of its advisors. The Global Notes pertain to all of the Schedules. The Schedules
are unaudited.

The financial affairs and business of the Debtor are complex. While the Debtor’s management
has made reasonable efforts to ensure that the Schedules are accurate and complete based on
information that was available to them at the time of preparation, the subsequent receipt or
discovery of information and/or further review and analysis of the Debtor’s books and records may
result in material changes to financial data and other information contained in the Schedules.
Moreover, because the Schedules contain unaudited information, which is subject to further
review and potential adjustment, there can be no assurance that the Schedules are complete and
accurate. Furthermore, nothing contained in the Schedules shall constitute a waiver of the
Debtor’s rights or an admission with respect to this chapter 11 case, including, without limitation,
any issues involving equitable subordination and/or causes of action arising under the provisions
of chapter 5 of the Bankruptcy Code and other relevant applicable laws to recover assets or avoid
transfers.

Agreements Subject to Confidentiality. There may be instances within the Schedules where
names, addresses or amounts have been left blank. Due to the nature of an agreement between
the Debtor and the third party, concerns of confidentiality or concerns for the privacy of an
individual, the Debtor may have deemed it appropriate and necessary to avoid listing such names,
addresses and amounts.

Amendment. While reasonable efforts were made to file complete and accurate Schedules,
inadvertent errors or omissions may exist. The Debtor reserves all rights to amend and/or
supplement its Schedules as is necessary and appropriate.

Basis of Presentation. While the Schedules, at times, incorporate information prepared in
accordance with generally accepted accounting principles (“GAAP”), the Schedules do not purport
to represent financial information prepared in accordance with GAAP.

Causes of Action. The Debtor, despite its best efforts, may not have identified or set forth all of
its causes of action (filed or potential) as assets in its Schedules. The Debtor reserves all of its
rights with respect to any causes of action it may have and neither these Global Notes nor the
Schedules shall be deemed a waiver of any such causes of action.

Claims Description. Any failure to designate an amount on the Debtor’s Schedules as
“disputed,” “contingent” or “unliquidated” does not constitute an admission by the Debtor that such
amount is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to dispute


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any claim reflected on its Schedules on any grounds including, without limitation, amount, liability,
validity, priority or classification, or to otherwise subsequently designate such claims as
“disputed,” “contingent” or “unliquidated.” The Debtor reserves its rights to object to any
scheduled claims.

Current Value of Assets. It would be prohibitively expensive, unduly burdensome and an
inefficient use of resources for the Debtor to obtain current valuations of all of its assets.
Accordingly, unless otherwise indicated, net book values, rather than current market valuations,
of the Debtor’s interests in assets are reflected on the Schedules. For this reason, amounts
ultimately realized may vary from net book value and such variance may be material. As
applicable, assets that have been fully depreciated or were expensed for accounting purposes
have no net book value.

Date. Unless otherwise indicated, the values reflected on the Schedules are as of November 17,
2022 (the “Petition Date”).

Estimates. The preparation of the Schedules required the Debtor to make certain estimates and
assumptions that affect the reported amounts of its assets and liabilities. Actual results could
differ from those estimates.

Insiders. Persons and entities listed as “insiders” have been included for informational purposes
only and should not be construed as a legal characterization of such party as an insider and does
not act as an admission of any fact, claim, right or defense and all such rights, claims and
defenses are hereby expressly reserved. Further, the Debtor does not take any position with
respect to (a) such person’s influence over the control of the Debtor, (b) the management
responsibilities or functions of such individual, (c) the decision-making or corporate authority of
such individual or (d) whether such individual could successfully argue that he or she is not an
“insider” under applicable law. The Debtor presumes that persons who are not corporate officers
of the Debtor are not “officers” for purposes of determining insider status, regardless of job title.

Intercompany receivables/claims. The amount of intercompany receivables and claims reflect
the value of such receivables and claims in the Debtor’s accounting records. However, these
amounts may not be accurate. For instance, an intercompany payable from one debtor may not
match entirely to the corresponding intercompany receivable shown for another debtor. In
addition, intercompany balances may not reflect offsetting amounts between affiliated entities.
The Debtors have made an effort to reconcile intercompany accounts over the last year, but that
task is ongoing.

Inventory. Inventory, where applicable, is presented without consideration for any potential liens
asserted by domestic common carriers, shippers, truckers, or similar liens.

Net Operating Loss. The value provided for the Net Operating Loss (NOL) is an estimated
amount. Per the Debtor’s 2021 Consolidated Tax Return (which includes all four debtors in this
jointly administered case and several non-debtor entities), the available NOL for 2021 was
$22,599,425. The Debtors are still preparing their Consolidated Tax Return for 2022, but
anticipate that the total NOL will be approximately $28,500,000.


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Liabilities Generally. Some of the Debtor’s scheduled liabilities are unknown and/or unliquidated
at this time. In such cases, the amounts may be listed as “Unknown” or “Undetermined.” As a
result, the Debtor’s Schedules do not accurately reflect the aggregate amount of the Debtor’s
liabilities, which may differ materially from those stated in the Schedules.

Prepetition and Postpetition Liabilities. The Debtor has sought to allocate liabilities between
prepetition and postpetition periods based on information from research that was conducted in
connection with the preparation of the Schedules. As additional information becomes available
and further research is conducted, the allocation of liabilities between prepetition and postpetition
periods may change.

Schedule D – Creditors Holding Secured Claims. The Debtor has not included on Schedule
D entities that may believe their claims are secured through setoff rights, deposits posted by or
on behalf of the Debtor, or inchoate statutory lien rights. Except as otherwise agreed pursuant to
a stipulation or agreed order or general order entered by the Bankruptcy Court, the Debtor
reserves its right to dispute or challenge, among other things, the validity, perfection or immunity
from avoidance of any lien purported to be granted or perfected in any specific asset to a creditor
listed on Schedule D. Moreover, although the Debtor may have scheduled claims of various
creditors as secured claims, the Debtor reserves all rights to dispute or challenge the secured
nature of any such creditor’s claim or the characterization of the structure of any such transaction
or any document or instrument related to such creditor’s claim. For instance, the inclusion of a
counterparty to a lease in Schedule D is not an admission that such lease constitutes a capital
lease, and the Debtor reserves all rights to contend that the referenced agreement is, instead, an
operating lease. The descriptions provided in Schedule D are intended only to be a summary.
Reference to the applicable loan agreements and related documents is necessary for a complete
description of the collateral and the nature, extent and priority of any liens. Nothing in the Global
Notes or the Schedules shall be deemed a modification or interpretation of the terms of such
agreements. The Debtor reserves the right to dispute the tax assessed value for any of the
taxable assets.

Schedule E/F – Creditors Holding Priority Claims. The Debtor reserves its rights to dispute or
challenge whether creditors listed on Schedule E/F, Part 1, are entitled to priority claims.

Schedule E/F – Creditors Holding Unsecured Nonpriority Claims. Schedule E/F does not
include certain deferred charges, deferred liabilities or general reserves. Such amounts may,
however, be reflected on the Debtor’s books and records as required in accordance with GAAP.
Such accruals are general estimates of liabilities and do not represent specific claims as of the
Petition Date. The claims listed in Schedule E/F arose or were incurred on various dates. In
certain instances, the date on which a claim arose is an open issue of fact. While best efforts
have been made, determination of each date upon which each claim in Schedule E/F was incurred
or arose would be unduly burdensome and cost prohibitive and, therefore, the Debtor does not
list a date for each claim listed on Schedule E/F.

Schedule G – Executory Contracts and Unexpired Leases. The business of the Debtor is
complex. While reasonable efforts have been made to ensure the accuracy of Schedule G
regarding executory contracts and unexpired leases, inadvertent errors, omissions or

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overinclusion may have occurred. The Debtor hereby reserves all of its rights to dispute the
validity, status or enforceability of any contract, agreement or lease set forth on Schedule G that
may have expired or may have been modified, amended and supplemented from time to time by
various amendments, restatements, waivers, estoppel certificates, letters and other documents,
instruments, and agreements which may not be listed on Schedule G. Certain of the leases and
contracts listed on Schedule G may contain certain renewal options, guarantees of payment,
options to purchase, rights of first refusal, and other miscellaneous rights. Such rights, powers,
duties and obligations are not set forth on Schedule G. Certain executory agreements may not
have been memorialized in writing and could be subject to dispute. In addition, the Debtor may
have entered into various other types of agreements in the ordinary course of business, such as
easements, right of way, subornation, non-disturbance, and attornment agreements,
supplemental agreements, amendment/letter agreements, title agreements and confidentially
agreements. Such documents may not be set forth on Schedule G. The Debtor reserves all of
its rights to dispute or challenge the characterization of the structure or substances of any
transaction, or any document or instrument. In the ordinary course of business, the Debtor may
have entered into agreements, written or oral, for the provision of certain services on a month-to-
month or at-will basis. Such contracts may not be included on Schedule G. The Debtor, however,
reserves the right to assert that such agreements constitute executory contracts. Listing a
contract, agreement or lease on Schedule G does not constitute an admission that such contract,
agreement or lease is an executory contract or unexpired lease or that such contract or agreement
was in effect on the Petition Date or is valid or enforceable. The Debtor reserves all rights to
challenge whether any of the listed contracts, agreements, leases or other documents constitute
an executory contract or unexpired lease, including if any are unexpired real property leases. The
Debtor reserves all rights to contend that any of the listed leases are capital leases rather than
operating leases. Any and all of the Debtor's rights, claims and causes of action with respect to
the contracts and agreements listed on Schedule G are hereby reserved and preserved.
Omission of a contract, agreement or lease from Schedule G does not constitute an admission
that such omitted contract or agreement is not an executory contract or unexpired lease. The
Debtor’s rights under the Bankruptcy Code with respect to any such omitted contracts,
agreements or leases are not impaired by the omission. Schedule G may be amended at any
time to add any omitted contract, agreement or lease. For any executory contract or unexpired
lease that purportedly may have been assigned to the Debtor, but for which there is not
documentation to support the purported assignment, neither the executory contract nor unexpired
lease (or related claim) has been included on the Schedules.

Totals. All totals that are included in the Schedules represent totals of all known amounts
included in the Debtor’s books and records at the time of the Petition Date. To the extent there
are unknown or undetermined amounts, the actual total may be different than the listed total, at
times materially.

                                                ***

The Debtor and its agents, attorneys and financial advisors do not guarantee or warrant the
accuracy, completeness, or currentness of the data that is provided herein and shall not be liable
for any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,

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whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communication or delivering the information contained herein. While every effort has been made
to provide accurate and complete information herein, inadvertent errors and omissions may exist.


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                                                                    6
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 Fill in this information to identify the case
 Debtor name          NGV Global Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          22-42780-11-mxm
 (if known)                                                                                                          Check if this is an
                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:         Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


       All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                              debtor's interest

2.     Cash on hand

3.     Checking, savings, money market, or financial brokerage accounts (Identify all)

       Name of institution (bank or brokerage firm)                   Type of account                   Last 4 digits of
                                                                                                        account number
3.1.    First Capital Bank of Texas                                   Checking account                    0   6   7     4                     $0.71
3.2.    First Capital Bank of Texas                                   Checking account                    3   8   2     7                     $0.01
3.3.    TD Ameritrade
        Pledged Account                                               Savings account                                                       $103.78
3.4.    Origin Bank                                                   Checking account                    7   9   4     2                   $221.00
3.5.    MapleMark Bank                                                Checking account                    5   3   5     1                   $624.71
3.6.    Chase Bank                                                    Checking account                    7   3   8     3                     $0.00
4.     Other cash equivalents       (Identify all)

       Name of institution (bank or brokerage firm)

5.     Total of Part 1
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                            $950.21




Official Form 206A/B                                 Schedule A/B: Assets -- Real and Personal Property                                           page 1
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               Name


 Part 2: Deposits and prepayments

6.     Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest
7.     Deposits, including security deposits and utility deposits

       Description, including name of holder of deposit

7.1.    Escrow Deposit
        ANGI                                                                                                                         $29,000.00
7.2.    Retainer - Forshey & Prostok, LLP                                                                                            $39,345.50
7.3.    Retainer - First National Capital LLC                                                                                        $15,000.00
8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

       Description, including name of holder of prepayment

8.1.    Contractor Advance to Dmitri Tisnoi                                                                                          $20,000.00
8.2.    Contractor Advance to Jesue Marquez                                                                                           $2,000.00
9.     Total of Part 2.
       Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                   $105,345.50


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest
11. Accounts receivable

11a. 90 days old or less:                                    –                                        = .............. 
                             face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                                       –                                        = .............. 
                             face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                           $0.00


 Part 4: Investments

13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                             Valuation method              Current value of
                                                                                             used for current value        debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:




Official Form 206A/B                             Schedule A/B: Assets -- Real and Personal Property                                            page 2
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                Name

15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

            Name of entity:                                              % of ownership:
15.1.       Natural Gas Vehicles Texas, Inc.                                 100%           Cost                                    Unknown
15.2.       Natural Gas Supply, LLC                                          100%           Cost                                    Unknown
15.3.       Natural Gas Vehicles Logistics Inc.                              100%           Cost                                    Unknown
15.4.       NGV Administrative and Human Resources Inc.                      100%           Cost                                    Unknown
15.5.       Natural Gas School Bus LLC                                       100%           Cost                                    Unknown
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

            Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                         $0.00


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

           No. Go to Part 6.
           Yes. Fill in the information below.

        General description                         Date of the     Net book value of       Valuation method             Current value of
                                                    last physical   debtor's interest       used for current value       debtor's interest
                                                    inventory       (Where available)
19. Raw materials                                   MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                         $0.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

           No. Go to Part 7.
           Yes. Fill in the information below.




Official Form 206A/B                              Schedule A/B: Assets -- Real and Personal Property                                         page 3
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     General description                                            Net book value of     Valuation method             Current value of
                                                                    debtor's interest     used for current value       debtor's interest
                                                                    (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                       $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes
 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes. Fill in the information below.

     General description                                            Net book value of     Valuation method             Current value of
                                                                    debtor's interest     used for current value       debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     Computers, printers, TV, office equipment                              $15,008.12    Book Value                             $15,008.12
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                 $15,008.12

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes


Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                          page 4
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              Name


 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

         No. Go to Part 9.
         Yes. Fill in the information below.

      General description                                          Net book value of       Valuation method             Current value of
      Include year, make, model, and identification numbers        debtor's interest       used for current value       debtor's interest
      (i.e., VIN, HIN, or N-number)                                (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

47.1. Trailers                                                               $32,172.78    Book Value                             $32,172.78
47.2. Chevrolet Truck                                                        $34,035.78    Book Value                             $34,035.78
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

      CNG Delivery Equipment                                            $126,958.33        Book Value                           $126,958.33
      Portable field offices                                                 $35,821.71    Book Value                             $35,821.71
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                $228,988.60

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes
 Part 9: Real property

54. Does the debtor own or lease any real property?

         No. Go to Part 10.
         Yes. Fill in the information below.


55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property           Nature and extent        Net book value of   Valuation method     Current value of
       Include street address or other description    of debtor's interest     debtor's interest   used for current     debtor's interest
       such as Assessor Parcel Number (APN),          in property              (Where available)   value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. Approx. 4.36 acres located at 2001
       Manana Rd., Dallas, TX 75220
       2001 Manana Rd.                                Leasehold Interest              Unknown                                      Unknown
55.2. Approx. 5.06 acres, located at 10737
       Spangler Rd., Dallas, TX 75220
       10737 Spangler Rd.                             Leasehold Interest              Unknown                                      Unknown
55.3. Approx. 9.0 acres, located at 10801
       Spangler Rd., Dallas, TX 75220
       10801 Spangler Rd.                             Leasehold Interest              Unknown                                      Unknown



Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                          page 5
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55.4. Various
      Leasehold Improvements                          Leasehold Improve          $5,882,312.47                                       Unknown
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes. Fill in the information below.

     General description                                           Net book value of       Valuation method               Current value of
                                                                   debtor's interest       used for current value         debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

     https://ngvglobalgroup.com                                            Unknown                                                   Unknown
62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property

65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                          $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes. Fill in the information below.




Official Form 206A/B                           Schedule A/B: Assets -- Real and Personal Property                                             page 6
            Case 22-42780-mxm11                         Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                         Desc
                                                         Main Document    Page 13 of 39
Debtor       NGV Global Group, Inc.                                                    Case number (if known)   22-42780-11-mxm
             Name

                                                                                                                    Current value of
                                                                                                                    debtor's interest
71. Notes receivable

     Description (include name of obligor)

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     Federal Income Tax NOL (estimated)                                                         Tax year   2022          $28,500,000.00
73. Interests in insurance policies or annuities

74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     Intercompany receivable from Natural Gas Supply, LLC                                                                 $1,776,983.91
     Intercompany receivable from Natural Gas Vehicles Texas Inc.                                                         $3,544,049.48
     Intercompany receivable from Natural Gas Vehicles Logistics Inc.                                                     $4,581,047.41
78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                         $38,402,080.80

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes




Official Form 206A/B                            Schedule A/B: Assets -- Real and Personal Property                                      page 7
              Case 22-42780-mxm11                              Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                                Desc
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Debtor          NGV Global Group, Inc.                                                                          Case number (if known)       22-42780-11-mxm
                Name


Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                           $950.21
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                    $105,345.50

82. Accounts receivable. Copy line 12, Part 3.                                                 $0.00

83. Investments. Copy line 17, Part 4.                                                         $0.00

84. Inventory. Copy line 23, Part 5.                                                           $0.00

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                          $15,008.12
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                               $228,988.60
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                                     $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  +   $38,402,080.80

91. Total. Add lines 80 through 90 for each column.                    91a.       $38,752,373.23            +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $38,752,373.23




Official Form 206A/B                                     Schedule A/B: Assets -- Real and Personal Property                                                       page 8
              Case 22-42780-mxm11                    Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                      Desc
                                                      Main Document    Page 15 of 39
 Fill in this information to identify the case:
 Debtor name          NGV Global Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number          22-42780-11-mxm                                                                             Check if this is an
 (if known)                                                                                                        amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

      No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
      Yes. Fill in all of the information below.


 Part 1:         List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more            Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                Amount of claim        Value of collateral
                                                                                                           Do not deduct the      that supports
                                                                                                           value of collateral.   this claim

 2.1      Creditor's name                                  Describe debtor's property that is
          City of Dallas                                   subject to a lien                                       Unknown                     $0.00

          Creditor's mailing address                       2022 Personal Property Tax
          1500 Marilla St.                                 Describe the lien
                                                           Statutory Lien
                                                           Is the creditor an insider or related party?
          Dallas                     TX   75201             No
          Creditor's email address, if known                Yes
                                                           Is anyone else liable on this claim?
          Date debt was incurred                            No
          Last 4 digits of account                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                                           As of the petition filing date, the claim is:
          Do multiple creditors have an interest in        Check all that apply.
          the same property?                                  Contingent
              No                                              Unliquidated
          
              Yes. Specify each creditor, including this      Disputed
          
              creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                              $6,406,726.84


Official Form 206D                        Schedule D: Creditors Who Have Claims Secured by Property                                            page 1
             Case 22-42780-mxm11                       Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                        Desc
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Debtor       NGV Global Group, Inc.                                                            Case number (if known) 22-42780-11-mxm

 Part 1:         Additional Page                                                                               Column A               Column B
                                                                                                               Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                      Do not deduct the      that supports
sequentially from the previous page.                                                                           value of collateral.   this claim

 2.2     Creditor's name                                       Describe debtor's property that is
         Dallas County                                         subject to a lien                                       Unknown                     $0.00

         Creditor's mailing address                            2022 Personal Property Tax
         500 Elm St., Suite 3300                               Describe the lien
                                                               Statutory Lien
                                                               Is the creditor an insider or related party?
         Dallas                     TX      75202               No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                 No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines

 2.3     Creditor's name                                       Describe debtor's property that is
         Dallas ISD                                            subject to a lien                                       Unknown                     $0.00

         Creditor's mailing address                            2022 Personal Property Tax
         9400 N Central Expressway                             Describe the lien
                                                               Statutory Lien
                                                               Is the creditor an insider or related party?
         Dallas                     TX      75231               No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                 No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines




Official Form 206D               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2
             Case 22-42780-mxm11                         Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                      Desc
                                                          Main Document    Page 17 of 39
Debtor       NGV Global Group, Inc.                                                            Case number (if known) 22-42780-11-mxm

 Part 1:         Additional Page                                                                               Column A               Column B
                                                                                                               Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                      Do not deduct the      that supports
sequentially from the previous page.                                                                           value of collateral.   this claim

 2.4     Creditor's name                                       Describe debtor's property that is
         First Capital Bank of Texas NA                        subject to a lien                                 $1,653,204.00              $228,988.60

         Creditor's mailing address                            Personal Property
         5580 LBJ Freeway, Suite 100                           Describe the lien
                                                               Agreement
                                                               Is the creditor an insider or related party?
         Dallas                     TX       75240              No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred          9/30/2021              No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                          6    8      1   2     As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines

 2.5     Creditor's name                                       Describe debtor's property that is
         First Capital Bank of Texas NA                        subject to a lien                                 $2,226,851.00              $228,988.60

         Creditor's mailing address                            Personal Property
         5580 LBJ Freeway, Suite 100                           Describe the lien
                                                               Secured Guaranty Agmt
                                                               Is the creditor an insider or related party?
         Dallas                     TX       75240              No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                 No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines




Official Form 206D               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
             Case 22-42780-mxm11                       Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                        Desc
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Debtor       NGV Global Group, Inc.                                                            Case number (if known) 22-42780-11-mxm

 Part 1:         Additional Page                                                                               Column A               Column B
                                                                                                               Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                      Do not deduct the      that supports
sequentially from the previous page.                                                                           value of collateral.   this claim

 2.6     Creditor's name                                       Describe debtor's property that is
         MapleMark Bank                                        subject to a lien                                 $2,523,466.00                   $624.71

         Creditor's mailing address                            Deposit Account
         4143 Maple Ave., Suite 100                            Describe the lien
                                                               Agreement
                                                               Is the creditor an insider or related party?
         Dallas                     TX      75219               No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred          4/21/2022              No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines

 2.7     Creditor's name                                       Describe debtor's property that is
         Texas Comptroller                                     subject to a lien                                       $3,205.84               $3,205.84

         Creditor's mailing address                            Franchise Tax Penalties
         Lyndon B Johnson State Office Bldg                    Describe the lien
         111 E 17th St                                         Statutory Lien
                                                               Is the creditor an insider or related party?
         Austin                     TX      78774               No
         Creditor's email address, if known                     Yes
                                                               Is anyone else liable on this claim?
         Date debt was incurred                                 No
         Last 4 digits of account                               Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                                As of the petition filing date, the claim is:
         Do multiple creditors have an interest in             Check all that apply.
         the same property?                                       Contingent
             No                                                   Unliquidated
         
             Yes. Have you already specified the                  Disputed
         
                  relative priority?

                 No. Specify each creditor, including this
                  creditor, and its relative priority.

                 Yes. The relative priority of creditors is
                  specified on lines




Official Form 206D               Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4
             Case 22-42780-mxm11                   Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                   Desc
                                                    Main Document    Page 19 of 39
 Fill in this information to identify the case:
 Debtor              NGV Global Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         22-42780-11-mxm                                                                          Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the
                                                                claim is: Check all that apply.

                                                                   Contingent
                                                                   Unliquidated
                                                                   Disputed

                                                                Basis for the claim:

Date or dates debt was incurred
                                                                Is the claim subject to offset?

Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(     )




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                           page 1
            Case 22-42780-mxm11                   Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                   Desc
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Debtor        NGV Global Group, Inc.                                                   Case number (if known)      22-42780-11-mxm

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                   $26,940.15
                                                                   Check all that apply.
Addison Group                                                       Contingent
7076 Solutions Center                                               Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Chicago                                  IL       60677-7000       Staffing Services

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $103,891.96
                                                                   Check all that apply.
AFCO                                                                Contingent
5600 North River Rd.                                                Unliquidated
Suite 400                                                           Disputed
                                                                   Basis for the claim:
Rosemont                                 IL       60018-5187       Insurance Premium Financing

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.3    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                 $130,482.28
                                                                   Check all that apply.
ANGI                                                                Contingent
PO Box 516                                                          Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Janeville                                WI       53547-5216       Equipment Purchases

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.4    Nonpriority creditor's name and mailing address        As of the petition filing date, the claim is:                    $2,921.70
                                                                   Check all that apply.
Archerpoint                                                         Contingent
2405 Satellite Blvd, Suite 225                                      Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Duluth                                   GA       30096            Professional Services

Date or dates debt was incurred                                    Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2
           Case 22-42780-mxm11                  Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                               Desc
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Debtor       NGV Global Group, Inc.                                                 Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

   3.5     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,385.07
                                                                Check all that apply.
AT&T                                                             Contingent
PO Box 50001                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IL       60619-5001      Communcation Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.6     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $13,063.64
                                                                Check all that apply.
Bridgestone                                                      Contingent
PO Box 730026                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75373-0026      Tires

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.7     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $300.00
                                                                Check all that apply.
Brothers Ready-Mix LLC                                           Contingent
2351 W Northwest Hwy                                             Unliquidated
Suite 3358                                                       Disputed
                                                                Basis for the claim:
Dallas                                 TX       75220           Concrete

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

   3.8     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $5,020.40
                                                                Check all that apply.
Cesar Torres                                                     Contingent
2326 West Lovers Lane                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75235           Contract Labor

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 3
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Debtor       NGV Global Group, Inc.                                                 Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $7,250.00
                                                                Check all that apply.
Champions Pumping LLC                                            Contingent
2351 W Northwest Hwy                                             Unliquidated
Suite 3358                                                       Disputed
                                                                Basis for the claim:
Dallas                                 TX       75220           Concrete Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,998.62
                                                                Check all that apply.
City of Dallas                                                   Contingent
1500 Marilla 3A North                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75201           Utilities

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Comdata                                                          Contingent
5301 Mayland Way                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Brentwood                              TN       37027           Credit Card Charges

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $1,218.24
                                                                Check all that apply.
Convergent                                                       Contingent
PO Box 90004                                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Renton                                 WI       98057-4975      -

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4
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Debtor       NGV Global Group, Inc.                                                 Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $5,000.00
                                                                Check all that apply.
Dallas Regional Chapter                                          Contingent
500 N. Akard St., Suite 2600                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75201           Association Dues

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $300.00
                                                                Check all that apply.
DAPA Freight and Logistics, LLC                                  Contingent
204 Bella Vista Way                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Royal Palm Beach                       FL       33411           Freight Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $3,366,873.88
                                                                Check all that apply.
Far Northwest Dallas Dev. II LLC                                 Contingent
10733 Spangler Rd.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75220           Advances to Affiliate

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Farroukh Zaidi                                                   Contingent
10733 Spangler Rd.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75220           Advances to Affiliate

Date or dates debt was incurred      11/17/2022                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5
            Case 22-42780-mxm11                 Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                               Desc
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Debtor       NGV Global Group, Inc.                                                 Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.17     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
First Capital Bank of Texas NA                                   Contingent
5580 LBJ Freeway, Suite 100                                      Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75219           Guaranty Agreement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.18     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $375.00
                                                                Check all that apply.
Gilbert Mediation Group                                          Contingent
12001 N Central Expy                                             Unliquidated
Suite 650                                                        Disputed
                                                                Basis for the claim:
Dallas                                 TX       75243           Mediation Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.19     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $100,810.00
                                                                Check all that apply.
International Vehicle Sales                                      Contingent
& Leasing LLC                                                    Unliquidated
10733 Spangler Rd.                                               Disputed
                                                                Basis for the claim:
Dallas                                 TX       75220           Advances to Affiliate

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.20     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $151.67
                                                                Check all that apply.
Joseph Olguin                                                    Contingent
8830 Melissa Ct.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Waxahachie                             TX       75167           Expense Reimbursement

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 6
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Debtor       NGV Global Group, Inc.                                                 Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,175.62
                                                                Check all that apply.
Littler Mendelson, PC                                            Contingent
PO Box 207137                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75320-7137      Professional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Lockton                                                          Contingent
PO Box 123036                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75312-3036      Insurance

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $3,375.00
                                                                Check all that apply.
Mark Conner CPA, PLLC                                            Contingent
P.O. Box 2709                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Coppell                                TX       75019           Professional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $4,680.00
                                                                Check all that apply.
Metropolitan Gate, Inc.                                          Contingent
PO Box 541567                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75354           Repair Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 7
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Debtor       NGV Global Group, Inc.                                                 Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.25     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  Unknown
                                                                Check all that apply.
Mike Albert, Ltd.                                                Contingent
10340 Evendale Dr.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cincinnati                             OH       45241           Guaranty

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.26     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $112.58
                                                                Check all that apply.
Minuteman Press                                                  Contingent
2629 N Stemmons Fwy                                              Unliquidated
Suite 108                                                        Disputed
                                                                Basis for the claim:
Dallas                                 TX       75207           Printing Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.27     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $750.00
                                                                Check all that apply.
National Star Route                                              Contingent
8521 Leesburg Pike                                               Unliquidated
Suite 350                                                        Disputed
                                                                Basis for the claim:
Vienna                                 VA       22182           -

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.28     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:              $1,522,550.00
                                                                Check all that apply.
Northwest Dallas Development LLC                                 Contingent
10733 Spangler Rd.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75220           Advances to Affiliate

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 8
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Debtor       NGV Global Group, Inc.                                                 Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $178,860.93
                                                                Check all that apply.
OSI 10737 Spangler Road LLC                                      Contingent
309 East Paces Ferry Rd. NE                                      Unliquidated
Suite 60                                                         Disputed
                                                                Basis for the claim:
Atlanta                                GA       30305           Unpaid Rent

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                $163,307.82
                                                                Check all that apply.
OSI 10801 Spangler Road LLC                                      Contingent
309 East Paces Ferry Rd. NE                                      Unliquidated
Suite 60                                                         Disputed
                                                                Basis for the claim:
Atlanta                                GA       30305           Unpaid Rent

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $85,542.18
                                                                Check all that apply.
OSI 2001 Manana Drive LLC                                        Contingent
309 East Paces Ferry Road NE                                     Unliquidated
Suite 60                                                         Disputed
                                                                Basis for the claim:
Atlanta                                GA       30305           Unpaid Rent

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $696.61
                                                                Check all that apply.
PDQ Staffing, Inc.                                               Contingent
704 Hunters Row Court                                            Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mansfield                              TX       76063           Staffing Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                         page 9
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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.33     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $2,213.71
                                                                Check all that apply.
Performance Equipment                                            Contingent
10529 King William Dr.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75220           -

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.34     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $109.95
                                                                Check all that apply.
Pitney Bowes                                                     Contingent
                                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
                                                                Office Machine Rent

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.35     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $655.00
                                                                Check all that apply.
Safety-Kleen                                                     Contingent
42 Longwater Dr.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Norwell                                MA       02601           Shop Supplies

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.36     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $100.00
                                                                Check all that apply.
Secured Title of Texas                                           Contingent
                                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
                                                                -

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 10
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 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $4,200.18
                                                                Check all that apply.
Spectrum                                                         Contingent
                                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
                                                                Internet Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $10,000.00
                                                                Check all that apply.
Sunwest Communications Inc.                                      Contingent
4851 LBJ Freeway                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75224           Advertising

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $100.00
                                                                Check all that apply.
Swift I.T. LLC                                                   Contingent
30 N Gould St.                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Sheridan                               WY       82801           -

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Tara Energy                                                      Contingent
4925 Greenville Ave.                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75206           Utilities

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                     page 11
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Debtor       NGV Global Group, Inc.                                                 Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.41     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $36,382.06
                                                                Check all that apply.
TEKSwork                                                         Contingent
118 South 3rd St.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Williamsburg                           KY       40769           Internet Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.42     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $8,757.42
                                                                Check all that apply.
The Carbon Agency                                                Contingent
802 N. Kealy Ave., Suite 200                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Lewisville                             TX       75057-3136      Promotional Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.43     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $765.60
                                                                Check all that apply.
Transcend                                                        Contingent
1250 Broadway, 32nd Floor                                        Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
New York                               NY       10001           -

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.44     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                         $0.00
                                                                Check all that apply.
Uline                                                            Contingent
12575 Uline Dr.                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pleasant Prairie                       WI       53158           -

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       NGV Global Group, Inc.                                                Case number (if known)      22-42780-11-mxm

 Part 2:      Additional Page
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                  Amount of claim

  3.45     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $3,260.67
                                                               Check all that apply.
Verizon                                                         Contingent
                                                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
                                                               Communications Services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 13
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Debtor      NGV Global Group, Inc.                                            Case number (if known)      22-42780-11-mxm

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                    Total of claim amounts

5a. Total claims from Part 1                                                              5a.                       $0.00

5b. Total claims from Part 2                                                              5b.   +          $5,798,577.94


5c. Total of Parts 1 and 2                                                                5c.              $5,798,577.94
    Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:
 Debtor name         NGV Global Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         22-42780-11-mxm                          Chapter      11                                     Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       Purchase Agreement                              ANGI
          or lease is for and the
                                                                                        PO Box 516
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Janeville                           WI            53547-5216
          government contract

2.2       State what the contract       Real Property Lease                             OSI 10737 Spangler, LLC
          or lease is for and the
                                                                                        309 East Paces Ferry Road NE
          nature of the debtor's
          interest                                                                      Suite 60

          State the term remaining
          List the contract
          number of any
                                                                                       Atlanta                             GA            30305
          government contract

2.3       State what the contract       Real Property Lease                             OSI 10801 Spangler, LLC
          or lease is for and the
                                                                                        309 East Paces Ferry Road NE
          nature of the debtor's
          interest                                                                      Suite 60

          State the term remaining
          List the contract
          number of any
                                                                                       Atlanta                             GA            30305
          government contract

2.4       State what the contract       Real Property Lease                             OSI 2001 Manana Road, LLC
          or lease is for and the
                                                                                        309 East Paces Ferry Road NE
          nature of the debtor's
          interest                                                                      Suite 60

          State the term remaining
          List the contract
          number of any
                                                                                       Atlanta                             GA            30305
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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Debtor       NGV Global Group, Inc.                                               Case number (if known)   22-42780-11-mxm



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      Office Equipment Lease                   Pitney Bowes
          or lease is for and the
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
          government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                     page 2
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 Fill in this information to identify the case:
 Debtor name         NGV Global Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         22-42780-11-mxm                                                                               Check if this is an
 (if known)                                                                                                         amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.    Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes
2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
      schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
      owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
      separately in Column 2.

         Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                              Check all schedules
       Name                            Mailing address                                        Name                            that apply:

2.1    Farroukh Zaidi                  10733 Spangler Rd.                                     First Capital Bank of                D
                                       Number      Street                                     Texas NA                             E/F
                                                                                                                                   G

                                       Dallas                         TX      75220
                                       City                           State   ZIP Code


2.2    Farroukh Zaidi                  10733 Spangler Rd.                                     MapleMark Bank                       D
                                       Number      Street
                                                                                                                                   E/F
                                                                                                                                   G

                                       Dallas                         TX      75220
                                       City                           State   ZIP Code


2.3    Farroukh Zaidi                  10733 Spangler Rd.                                     First Capital Bank of                D
                                       Number      Street                                     Texas NA                             E/F
                                                                                                                                   G

                                       Dallas                         TX      75220
                                       City                           State   ZIP Code


2.4    Farroukh Zaidi                  10733 Spangler Rd.                                     First Capital Bank of                D
                                       Number      Street                                     Texas NA                             E/F
                                                                                                                                   G

                                       Dallas                         TX      75220
                                       City                           State   ZIP Code


2.5    Farroukh Zaidi                  10733 Spangler Rd.                                     Mike Albert, Ltd.                    D
                                       Number      Street
                                                                                                                                   E/F
                                                                                                                                   G

                                       Dallas                         TX      75220
                                       City                           State   ZIP Code




Official Form 206H                                            Schedule H: Codebtors                                                           page 1
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Debtor       NGV Global Group, Inc.                                                Case number (if known)   22-42780-11-mxm



          Additional Page if Debtor Has More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                            Column 2: Creditor

                                                                                                                  Check all schedules
      Name                          Mailing address                                   Name                        that apply:

2.6   Natural Gas Logistics         10733 Spangler Rd.                                First Capital Bank of              D
      Inc.                          Number     Street                                 Texas NA                           E/F
                                                                                                                         G

                                    Dallas                      TX      75220
                                    City                        State   ZIP Code


2.7   Natural Gas Logistics         10733 Spangler Rd.                                Mike Albert, Ltd.                  D
      Inc.                          Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    Dallas                      TX      75220
                                    City                        State   ZIP Code


2.8   Natural Gas Real Estate       10733 Spangler Rd.                                First Capital Bank of              D
      Holdings                      Number     Street                                 Texas NA                           E/F
                                                                                                                         G

                                    Dallas                      TX      75220
                                    City                        State   ZIP Code


2.9   Natural Gas Supply, LLC 10733 Spangler Rd.                                      First Capital Bank of              D
                                    Number     Street                                 Texas NA                           E/F
                                                                                                                         G

                                    Dallas                      TX      75220
                                    City                        State   ZIP Code


2.10 Natural Gas Supply, LLC 10733 Spangler Rd.                                       Mike Albert, Ltd.                  D
                                    Number     Street
                                                                                                                         E/F
                                                                                                                         G

                                    Dallas                      TX      75220
                                    City                        State   ZIP Code


2.11 Natural Gas Vehicles           10733 Spangler Rd.                                First Capital Bank of              D
     Texas, Inc.                    Number     Street                                 Texas NA                           E/F
                                                                                                                         G

                                    Dallas                      TX      75220
                                    City                        State   ZIP Code


2.12 NGV Administrative and         10733 Spangler Rd.                                First Capital Bank of              D
     Human Resources                Number     Street                                 Texas NA                           E/F
                                                                                                                         G

                                    Dallas                      TX      75220
                                    City                        State   ZIP Code




Official Form 206H                                       Schedule H: Codebtors                                                   page 2
   Case 22-42780-mxm11              Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48   Desc
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NGV Global Group, Inc.
Exhibit AB-47

Make               Model             Year    VIN (last 4)   Net Book Value
H & A Mobile LLC                                                 15,974.44
H & A Mobile LLC                                                  2,228.33
H & A Mobile LLC   Office Trailer                                13,970.00
Chevrolet          Truck                                         34,035.78
 Total                                                           66,208.55
               Case 22-42780-mxm11                                       Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                                                         Desc
                                                                          Main Document    Page 38 of 39
 Fill in this information to identify the case:


 Debtor Name NGV Global Group, Inc.

 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF TEXAS

 Case number (if known):                22-42780-11-mxm                                                                                                                                   Check if this is an
                                                                                                                                                                                           amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                 12/15



 Part 1:            Summary of Assets

1.   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                                 $0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B...........................................................................................................................                       $38,752,373.23

     1c. Total of all property
         Copy line 92 from Schedule A/B.............................................................................................................................                      $38,752,373.23


 Part 2:            Summary of Liabilities

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.......................................                                                    $6,406,726.84

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..............................................................................                                                $0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                            +    $5,798,577.94


4.   Total liabilities
     Lines 2 + 3a + 3b.............................................................................................................................................................       $12,205,304.78




Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
           Case 22-42780-mxm11                      Doc 122 Filed 01/18/23 Entered 01/18/23 20:50:48                                     Desc
                                                     Main Document    Page 39 of 39
 Fill in this information to identify the case and this filing:
 Debtor Name         NGV Global Group, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number         22-42780-11-mxm
 (if known)

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                              12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents. This form must state the individual's position or relationship to
the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or
both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


               Declaration and signature

             I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;
             or another individual serving as a representative of the debtor in this case.

             I have examined the information in the documents checked below and I have a reasonable belief that the information is true and
             correct:



                   Schedule A/B: Assets--Real and Personal Property (Official Form 206A/B)

                   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                   Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                   Schedule H: Codebtors (Official Form 206H)

                   A Summary of Assets and Liabilities for Non-Individuals (Official Form 206-Summary)

                   Amended Schedule

                   Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                    (Official Form 204)

                   Other document that requires a declaration


             I declare under penalty of perjury that the foregoing is true and correct.




             Executed on 01/18/2023                       X /s/ Farroukh Zaidi
                         MM / DD / YYYY                       Signature of individual signing on behalf of debtor


                                                              Farroukh Zaidi
                                                              Printed name
                                                              Chief Executive Officer
                                                              Position or relationship to debtor




Official Form 202                       Declaration Under Penalty of Perjury for Non-Individual Debtors
